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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11    LUIS FERMIN HERRERA, SR.,             CASE NO. CV 20-11474-SB(AS)

12                      Petitioner,                   JUDGMENT
13          v.

14    Warden T. JUSINO,

15
                        Respondent.
16

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18

19         Pursuant to the Order Accepting Findings, Conclusions and
20   Recommendations of United States Magistrate Judge,
21
           IT IS ADJUDGED that the Petition is denied and dismissed
22
     without prejudice.
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           DATED:       April 23, 2021
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                                              ___________    _________ ____
27                                                STANLEY BLUMENFELD, JR.
28                                             UNITED STATES DISTRICT JUDGE
